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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

CAROL ANSBACH and CARL ANSBACH
25 Blossom Lane
Schuylkill Haven, PA 17972 :

Plaintiffs : Docket No.

v.
LARRY W. WILKERSON
47 Shawnee Circle
Falls of Rough, KY 40119

and

JURY TRIAL DEMANDED

MONIN TRUCKING, INC.
1065 Bloomfield Road
Bardstown, KY 40004

Defendants

COMPLAINT

AND NOW, come the Plaintiffs, Carol Ansbach and Carl Ansbach, by and through their
counsel, Fanelli, Evans & Patel, P.C., and file this Complaint against the Defendants, Larry W.
Wilkerson and Monin Trucking, Inc., upon causes of action of which the following is a statement:

1. The Plaintiffs, Carol Ansbach and Carl Ansbach, are husband and Wife and are
adult individuals domiciled at 25 Blossom Lane, Schuylkill Haven, Schuylkill County,
Pennsylvania, 17972.

2. The Defendant, Larry W. Wilkerson (hereinafter “Wilkerson”), is an adult
individual domiciled at 47 Shawnee Circle, Falls of Rough, Kentucky, 401 19. At all times relevant
hereto, Wilkerson, was an agent and/or employee of Defendant, Monin Trucking, Inc.

3. The Defendant, Monin Trucking, Inc. (hereinafter “Monin”), is a corporation

organized, existing and domiciled under the laws of the state of Kentucky, with an address of 1065

Bloomfield Road, Bardstown, Kentucky, 40004.

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Jurisdiction and Venue

4. This Court has jurisdiction over this action as the subject February 13, 2017 crash
occurred within the jurisdiction confines of the Eastern District of Pennsylvania, diversity of
citizenship is met and the amount in controversy exceeds the minimum threshold required to
maintain an action in the Federal Courts.

5. Venue is proper in the United States District Court for the Eastem District of`
Pennsylvania pursuant to 28 U.S.C. § 1337(e)(2) since all Plaintiff`s are domiciled within the
jurisdictional confines of the United States District Court for the Eastern District of Pennsylvania
and Defendants regularly conduct business within the jurisdictional confines of the United States
District Court for the Eastem District of Pennsylvania. Also, the subject February 13, 2017 crash
occurred in the Eastern District of Pennsylvania.

The February 13, 2017 Motor Vehicle Cra_sh

6. On or about February 13, 2017, Carol Ansbach Was driving her vehicle west on
Interstate 78 in Upper Tulpehocken Township in Berks County, Pennsylvania, While Plaintiff`, Carl
Ansbach was the front seat passenger.

7. At the same time a tractor trailer owned by Defendant, Monin, and operated by
Defendant, Wilkerson, was traveling directly behind Plaintiff`s’ vehicle at a high rate of speed.

8. At all times relevant, Defendant, Wilkerson, was in the scope and course of his
employment with Defendant, Monin.

9. Defendant, Wilkerson, crashed in the rear of Plaintiffs’ vehicle, throwing Plaintiffs’
vehicle off the roadway and into the Woods, causing them serious personal injuries.

10. Defendant, Wilkerson, then fled the scene of the crash and was later taken into

custody by State Police for hit and run criminal charges.

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COUNT I

Carol Ansbach anc_l Carl Ansbach
v

Larl_'y Wilkerson

Negligence

11. Paragraphs 1 through 10 of this Complaint are incorporated herein as though set
forth fully at length.
12. The February 13, 2017 crash as described above was caused by the negligence of
the Defendant, Wilkerson, which consisted of the following:
(a) Traveling at an excessive speed;
(b) Traveling excess of the posted speed limit;
(c) F ailing to maintain control of the tractor trailer;
(d) Operating the tractor trailer in a reckless manner in total disregard for Plaintiffs
and others on the roadway;
(e) “Overdriving” as defined by the U.S. Department of Transportation’s Federal
Motor Carriers Safety Administration;
(f) Rear-ending Plaintiffs’ vehicle and leave the scene of the crash;
(g) Violating Section 3714(a) of the Pennsylvania Motor Vehicle Code with
careless driving;
(h) Violating Section 3744(a) - duty to give information and render aid;
(i) Driving when fatigued or tired to the extent that it prevented him from driving
in the right lanes of travel;

(j) Failing to keep a proper lookout for vehicles ahead of him on the highway;

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(k) Failing to stop his vehicle either by regular brakes, emergency brakes, reducing
gear or other manners to avoid colliding with the Plaintiffs’ vehicle;

(l) Being inattentive or distracted using a cell phone or other communicative
devices.

13. As a result of the negligence of Defendant, Wilkerson, Plaintiff, Carol Ansbach
sustained severe bruising and hematomas to her face and arm, multiple lumbar disc injuries, a right
forearm contusion, acute stress disorder and somatic symptoms secondary to pain.

14. As a result of the negligence of the Defendant, Wilkerson, Plaintiff, Carol Ansbach,
has suffered medical expenses in the past for diagnoses and treatment for her injuries and will
continue to sustain medical expenses in the future.

15. As a result of the negligence of the Defendant, Wilkerson, Plaintiff, Carol Ansbach,
suffered a wage loss and loss of earning capacity may continue to suffer a wage loss and/or loss
of earning capacity in the future.

16. As a result of the negligence of the Defendant, Wilkerson, Plaintiff, Carol Ansbach,
suffered pain, suffering and a loss of life’s pleasures, all of which may be permanent in nature.

17. As a result of the negligence of the Defendant, Wilkerson, Plaintiff, Carol Ansbach,
suffered humiliation, embarrassment and frustration, all of which may be permanent in nature.

18. As a result of the negligent of Defendant, Wilkerson, Plaintiff, Carl Ansbach,
sustained injures to the face, right cheek, forehead, low back and shoulder.

19. As a result of the negligence of Defendant, Wilkerson, Plaintiff, Carl Ansbach, has
suffered medical expenses in the past for diagnoses and treatment for his injuries and Will continue

to sustain medical expenses in the future.

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20. As a result of the negligence of the Defendant, Wilkerson, Plaintiff, Carl Ansbach,

suffered pain, suffering and a loss of life’s pleasures, all of which may be permanent in nature.

21. As a result of the negligence of the Defendant, Wilkerson, Plaintiff, Carol Ansbach,

suffered humiliation, embarrassment and frustration, all of which may be permanent in nature.

22. Defendant’s conduct in driving at an excessive rate of speed and leaving the scene

of the crash constitutes reckless conduct warranting punitive damages.

WHEREFORE, Plaintiffs, Carol Ansbach and Carl Ansbach, respectfully request this
Honorable Court enter judgment in their favor and against the Defendant, Larry W. Wilkerson, in
an amount which exceeds $75,000.00, exclusive of interest and costs.

L)M

Carol Ansbach and Carl Ansbach
v.

Monin Tr;cking, Inc.
Negligence
23. Paragraphs 1 through 22 of this Complaint are incorporated herein as though set
forth fully at length.
24. The February 13, 2017 motor vehicle crash as described above was caused by the
negligence of the Defendant, Monin, which consisted of the following:
(a) Negligently hiring and training Defendant, Wilkerson;
(b) Negligently retaining Defendant, Wilkerson, as an employee;
(c) Creating a working environment that created the likelihood that Defendant,
Wilkerson, would operate a motor vehicle in the manner in which it was
operated at the time of the accident;

(d) Negligently managing and supervising its employees;

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(e) Creating undue and inappropriate working conditions and stresses in the
workplace;

(f) Creating unreasonable and overly burdensome working conditions that caused
excessive stress, anxiety and fatigue upon its employees, including but not
limited to Defendant, Wilkerson;

(g) Failing to make sure the tractor trailer driven by its employee, Wilkerson, was
in good, proper condition, including the tires;

(h) Failing to equip the vehicle with safety devices.

25. As a result of the negligence of Defendant, Monin, Plaintiff, Carol Ansbach
sustained severe bruising and hematomas to her face and arm, multiple lumbar disc injuries, a right
forearm contusion, acute stress disorder and somatic symptoms secondary to pain.

26. As a result of the negligence of the Defendant, Monin, Plaintiff, Carol Ansbach,
has suffered medical expenses in the past for diagnoses and treatment for her injuries and will
continue to sustain medical expenses in the future.

27. As a result of the negligence of the Defendant, Monin, Plaintiff, Carol Ansbach,
suffered a wage loss and loss of earning capacity may continue to suffer a wage loss and/or loss
of earning capacity in the future.

28. As a result of the negligence of the Defendant, Monin, Plaintiff, Carol Ansbach,
suffered pain, suffering and a loss of life’s pleasures, all of which may be permanent in nature.

29. As a result of the negligence of the Defendant, Monin, Plaintiff, Carol Ansbach,
suffered humiliation, embarrassment and frustration, all of which may be permanent in nature.

30. As a result of the negligent of Defendant, Monin, Plaintiff, Carl Ansbach, sustained

injures to the face, right cheek, forehead, low back and shoulder.

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31. As a result of the negligence of Defendant, Monin, Plaintiff, Carl Ansbach, has
suffered medical expenses in the past for diagnoses and treatment for his injuries and will continue
to sustain medical expenses in the future.

32. As a result of the negligence of the Defendant, Monin, Plaintiff, Carl Ansbach,
suffered pain, suffering and a loss of life’s pleasures, all of which may be permanent in nature.

33. As a result of the negligence of the Defendant, Monin, Plaintiff, Carol Ansbach,
suffered humiliation, embarrassment and frustration, all of which may be permanent in nature.

34. Defendant, Monin, is vicariously liable for the conduct of its agent and/or
employee, the Defendant, Wilkerson, in driving at an excessive rate of speed and leaving the scene
of the crash constitutes reckless conduct warranting punitive damages.

WHEREFORE, Plaintiffs, Carol Ansbach and Carl Ansbach, respectfully request this
Honorable Court enter judgment in their favor and against the Defendant, Monin Trucking, Inc., in
an amount Which exceeds $75,000.00, exclusive of interest and costs.

COUNT III
Carol Ansbach and Carl Ansbach
L£rv W. Wilkerson ar`:d Monin Trucking, Inc.
Loss of Consortium

35 . Paragraphs l through 34 of this Complaint are incorporated herein as though set
forth fully at length.

36. As a result of the negligence of the Defendants, Plaintiff, Carol Ansbach, has lost

the services, companionship and consortium of her husband and will continue to suffer the same

into the future.

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37. As a result of the negligence of the Defendants, Plaintiff, Carl Ansbach, has lost
the services, companionship and consortium of his wife and will continue to suffer the same into
the future.

WHEREFORE, Plaintiffs, Carol Ansbach and Carl Ansbach, respectfully request this
Honorable Court enter judgment in their favor and against the Defendants, Larry W. Wilkerson
and Monin Trucking, Inc., in an amount which exceeds $75,000.00, exclusive of interest and costs.

Respectfully submitted,

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A/Idl% ERT J. EV;A’NS, ESQUIRE
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COUNSEL FOR PLAINTIFFS

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CERTIFICATE OF COMPLIANCE

l certify that this filing complies With the provisions of the Case Records Publz'c Access
Policy of the Unifz`ed Judicial System ofPennsylvania that require filing confidential information

and documents differently than non-confidential information and documents

 

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Attorney No. (if applicable): 63872

Rev. 7/2018

